                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


OHIO A. PHILIP RANDOLPH                    )
INSTITUTE, et al.,                         )       Case No. 1:18-cv-357
                                           )
            Plaintiffs,                    )       ORDER DENYING MOTIONS
                                           )       TO EXCLUDE
                                           )
v.                                         )
                                           )
LARRY HOUSEHOLDER, Speaker of )
the Ohio House of Representatives, et al., )
                                           )
      Defendants.                          )

_________________________________

Before: Moore, Circuit Judge; Black and Watson, District Judges.
       Pending before the Court are Plaintiffs’, Defendants’, and Intervenors’ various

motions to exclude expert testimony and reports under Federal Rule of Evidence 702 and

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). (Mots., Docs. 148,

150–156).

       The primary “gatekeeping” role of the district court is largely inapplicable when

the matter is proceeding to a bench trial. See Deal v. Hamilton Cty. Bd. of Educ., 392

F.3d 840, 852 (6th Cir. 2004) (“The ‘gatekeeper’ doctrine was designed to protect juries

and is largely irrelevant in the context of a bench trial.”); see also United States v.

Demjanjuk, 367 F.3d 623, 633 (6th Cir. 2004) (noting that the trial court’s discretion to

admit or exclude expert testimony is “particularly broad” in the context of a bench trial);

United States v. Brown, 415 F.3d 1257, 1269 (11th Cir. 2005) (“There is less need for the
gatekeeper to keep the gate when the gatekeeper is keeping the gate only for himself [or

herself].”); Gibbs v. Gibbs, 210 F.3d 491, 500 (5th Cir. 2000) (concluding that “[m]ost of

the safeguards provided for in Daubert are not as essential in a case such as this where a

district judge sits as the trier of fact in place of a jury.”). Moreover, after reviewing the

parties’ various briefs on these motions, the Court finds that many of the arguments to

exclude go to the credibility of the expert witnesses’ opinions, rather than to

admissibility. The Court will be in a better position after trial to determine the merits of

those credibility arguments.

        Accordingly, this Court prefers to “admit the evidence and then afford it whatever

weight the Court deems appropriate.” See League of Women Voters of Mich. v. Benson,

No. 2:17-cv-14148, 2019 U.S. Dist. LEXIS 6914, at *2 (E.D. Mich. Jan. 15, 2019)

(quoting Mich. State A. Philip Randolph Inst. v. Johnson, No. 16-CV-11844, 2018 WL

1180886, at *2 (E.D. Mich. Mar. 7, 2018)). At this time, all motions to exclude are,

therefore, DENIED.

        IT IS SO ORDERED.

Date:         2/6/19                                      /s/ Michael H. Watson
                                                          Michael H. Watson
                                                          United States District Judge

                                                          /s/ Karen Nelson Moore
                                                          Karen Nelson Moore
                                                          United States Circuit Judge

                                                          /s/ Timothy S. Black
                                                          Timothy S. Black
                                                          United States District Judge
